 Case 1:18-cv-00309-GJQ-RSK ECF No. 23 filed 05/22/18 PageID.181 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

JOHN DOE and JANE DOE, for themselves
and on behalf of JIMMY DOE, their minor               Case No.: 1:18-cv-00309
child,
                                                      Honorable Gordon J. Quist
               Plaintiffs,

v.

GRANDVILLE PUBLIC SCHOOL DISTRICT,
RON CANIFF, Former District Superintendent
in his official capacity, ROGER BEARUP, Current
Superintendent in his Official Capacity; SCOTT
MERKEL, Assistant Superintendent in his Official
Capacity, TONIA SHOUP, Principal in her
Official Capacity, and HILLARY HUBERTS,
Teacher, in her Official Capacity,

               Defendants.
________________________________________/


 Anne Buckleitner (P59832)                            Craig R. Noland (P30717)
 SMIETANKA, BUCKLEITNER, STEFFES AND                  Amanda M. Zdarsky (P81443)
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              Certification of Defense Counsel Pursuant to Local Civil Rule 7.1(d)

       I, Craig R. Noland, lead counsel for Defendants, certify that I have engaged in a good-faith

effort to obtain concurrence in the Defendants’ Motion to Dismiss the Individual Claims of Plaintiffs

John Doe and Jane Doe (“for themselves”) via a written request for concurrence on April 11, 2018, a

telephone conference with Plaintiffs’ counsel on May 15, 2018, and a follow up email to Plaintiffs’

counsel on May 15, 2018. Plaintiff’s counsel has not concurred with my request.
Case 1:18-cv-00309-GJQ-RSK ECF No. 23 filed 05/22/18 PageID.182 Page 2 of 2



                                  McGRAW MORRIS, P.C.
                                  Attorneys for Defendant

Dated: May 22, 2018         BY:   s/     Craig R. Noland
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